              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   Civil Case No. 1:11-cv-00109-MR
               [Criminal Case No. 4:94-cr-00044-MR-12]


CHUNGA HAKI MATATA,       )
                          )
         Petitioner,      )
                          )
    vs.                   )              MEMORANDUM OF
                          )              DECISION AND ORDER
UNITED STATES OF AMERICA, )
                          )
         Respondent.      )
                          )

     THIS MATTER is before the Court on an initial review of Petitioner’s

Motion to Vacate, Set Aside or Correct Sentence, filed pursuant to 28

U.S.C. § 2255 [Doc. 1] and Petitioner’s motion to proceed in forma

pauperis [Doc. 2]. For the reasons that follow, Petitioner’s Section 2255

motion will be dismissed as successive and his motion to proceed in forma

pauperis will be denied as moot.

I.   FACTUAL BACKGROUND

     In 1994, Petitioner and nineteen others were charged with conspiracy

to possess with intent to distribute cocaine base, in violation of 21 U.S.C. §

846; possession of cocaine base, in violation of 21 U.S.C. § 841; using a

firearm during a drug trafficking crime, in violation of 18 U.S.C. § 924(c);


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and possession of a firearm after having been convicted of a felony, in

violation of 18 U.S.C. § 922(g). Petitioner was convicted by a jury in

October 1995 on five counts of possession of cocaine base with intent to

distribute; using a firearm during a drug trafficking crime; and possession of

a firearm by a felon. The jury did not reach a verdict on the conspiracy

charge and the Government elected not to pursue a retrial of that charge.

The Government subsequently dismissed the § 924(c) charge due to an

admitted defect in the Bill of Indictment.

      Petitioner was found to be a career offender under U.S. Sentencing

Guideline (USSG) § 4B1.1, and based on the quantity of drugs involved,

Petitioner was sentenced to a total term of 360 months’ incarceration in

March 1997. Petitioner subsequently appealed to the United States Court

of Appeals for the Fourth Circuit, which affirmed his conviction and

sentence. United States v. Matata, 149 F.3d 1171 (4th Cir. 1998)

(unpublished table decision). Petitioner did not file a petition for a writ of

certiorari with the Supreme Court of the United States.

      On April 12, 1999, Petitioner filed a timely § 2255 motion which was

assigned to Judge Lacy H. Thornburg who had been the presiding judge at




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Petitioner’s trial and sentencing.1 In his motion, Petitioner challenged the

sufficiency of his indictment, the calculation of his offense level, the quantity

of drugs attributable to him, the failure of the Government to prove that he

was dealing cocaine base, and claims of ineffective assistance of counsel

which largely related to his counsel’s alleged failure to pursue the four

claims set forth above. On June 16, 1999, Judge Thornburg entered an

Order denying the § 2255 motion, finding each claim to be without merit.

[See 4:99-cv-00068-LHT, Doc. 3: Order]. Petitioner appealed to the Fourth

Circuit, but the appeal was dismissed on January 5, 2000. United States v.

Matata, 202 F.3d 261 (4th Cir. 2000) (unpublished table decision).

      Petitioner then filed a motion to reduce his sentence pursuant to 18

U.S.C. § 3582(c)(2). The motion was granted in part and denied in part on

April 7, 2009. Petitioner’s sentence was reduced to 291 months as to two of

the counts for possession with intent to distribute cocaine base (Counts 24

and 25) and one count of possession of a firearm by a convicted felon

(Count 18). Petitioner’s sentence for the other three counts for possession

with intent to distribute cocaine base (Counts 12, 15, and 16) remained at

the statutory maximum of 240 months with all of these terms to run

concurrently. [See 4:94-cr-00044-MR, Doc. 634: Order on Motion to

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  Judge Thornburg has since retired. For that reason, this matter has been assigned to
the undersigned.
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Reduce Sentence]. Petitioner filed a motion for reconsideration which was

denied. He then filed an appeal to the Fourth Circuit. On April 22, 2010,

the Court of Appeals affirmed the District Court’s denial of his motion for

reconsideration. United States v. Matata, 375 F. App’x 360 (4th Cir. 2010)

(unpublished).

      On May 2, 2011, Petitioner filed the present § 2255 motion,

contending that he received ineffective assistance of counsel due to his

counsel’s failure to file an appeal from the Court’s order denying his motion

for reconsideration. Specifically, Petitioner argues that his counsel, who

was appointed solely for the purpose of assisting with the motion filed

pursuant to 18 U.S.C. § 3852, was ineffective in failing to file an appeal

from (1) the District Court’s “procedurally and substantively unreasonable

sentence” due to the Court’s failure to state a particular basis for imposing

the amended sentence; (2) the District Court’s reliance on “clearly

erroneous facts”; (3) the District Court’s failure to comply with the

provisions of 18 U.S.C. § 3553(c)(1); and (4) the District Court’s failure to

make an individualized assessment as required by § 3553(a). [Doc. 1-3 at

4].




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II.   DISCUSSION

      As identified above, Petitioner has already filed an unsuccessful §

2255 motion challenging his criminal judgment and this would therefore

appear to be an unauthorized, successive § 2255 motion. Pursuant to 28

U.S.C. § 2244(b)(3)(A), “[b]efore a second or successive application

permitted by this section is filed in the district court, the applicant shall

move in the appropriate court of appeals for an order authorizing the district

court to consider the application.” Further, the statute provides, in pertinent

part, as follows:

            [No] district judge shall be required to entertain an
            application for a writ of habeas corpus to inquire into
            the detention of person pursuant to a judgment of a
            court of the United States if it appears that the
            legality of such detention has been determined by a
            judge or court of the United States on a prior
            application for a writ of habeas corpus, except as
            provided in section 2255.

28 U.S.C. § 2244(a).

      Section 2255, in turn, provides in pertinent part, as follows:

            A second or successive motion must be certified as
            provided in section 2244 by a panel of the
            appropriate court of appeals to contain —

            (1) newly discovered evidence that, if proven and
            viewed in light of the evidence as a whole, would be
            sufficient to establish by clear and convincing
            evidence that no reasonable factfinder would have
            found the movant guilty of the offense; or
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              (2) a new rule of constitutional law, made retroactive
              to cases on collateral review by the Supreme
              Court, that was previously unavailable.

28 U.S.C. § 2255(h).

       The Court finds that the correctness of Petitioner’s criminal judgment

and the legality of his detention under § 2255 have already been

conclusively determined by the Fourth Circuit Court of Appeals following its

affirmance of the district court’s denial of his first § 2255 motion.2 The

Court would note, in any event, that Petitioner did appeal, with or without

assistance of counsel, from the District Court’s Order denying his motion

for reconsideration of his sentence reduction, and the Fourth Circuit

affirmed for the reasons stated by the District Court. Namely, the District

Court found that 291 months, at least for some of Petitioner’s counts, was

an appropriate sentence under the amended Guidelines range. See

Matata, 375 F. App’x 360. [Criminal Case No. 4:94-cr-00044-MR, Doc. 637:

Notice of Appeal]. Contrary to Petitioner’s current claims, his counsel did in


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 Petitioner did not file a petition for a writ of certiorari from the Fourth Circuit’s January
5, 2000 decision; therefore, his criminal judgment was final on or about April 5, 2000.
See Clay v. United States, 537 U.S. 522, 527 (2003) (“Finality attaches when this Court
affirms a conviction on the merits on direct review or denies a petition for certiorari, or
when the time for filing a certiorari petition expires.”); see also Sup. Ct. R. 13.1
(providing 90 days from entry of court of appeals of decision for filing of certiorari
petition). The subsequent modification of Petitioner’s sentence under § 3582 did not
affect the finality of that judgment. See United States v. Sanders, 247 F.3d 139, 143
(4th Cir. 2001).
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fact argue in the motion for reconsideration for a further reduction and

asserted that the Court had discretion to impose any sentence within the

amended Guidelines. [See id., Doc. 635: Motion for Reconsideration].

       Finally, Petitioner’s present claim, whether presented in a successive

petition or not, would nevertheless be rejected on the merits. The Order

granting the reduced sentence was appealed to the Court of Appeals. The

issue of whether the district court’s decision to reduce his sentence was

procedurally and substantively reasonable was affirmed by the Fourth

Circuit. See United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993) (holding that

the law of the case doctrine “forecloses litigation of issues expressly or

impliedly decided by the appellate court.”). As the Fourth Circuit affirmed

for the reasons stated by the District Court it would follow, then, that the

District Court’s conclusion in reaching the amount of the reduced sentence

was substantively and procedurally reasonable.

III.   CONCLUSION

       For the reasons stated herein, the Court finds the present § 2255

motion is an unauthorized, successive petition and it must be dismissed.

See Burton v. Stewart, 549 U.S. 147, 153 (2007) (holding that failure of

petitioner to obtain authorization to file a “second or successive” petition




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deprived the district court of jurisdiction to consider the second or

successive petition “in the first place”).

      Pursuant to Rule 11(a) of the Rules Governing Section 2254 and

Section 2255 Cases, the Court declines to issue a certificate of

appealability. See 28 U.S.C. § 2253(c)(2); Miller–El v. Cockrell, 537 U.S.

322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

demonstrate that reasonable jurists would find the district court's

assessment of the constitutional claims debatable or wrong); Slack v.

McDaniel, 529 U.S. 473, 484 (2000) (when relief is denied on procedural

grounds, a petitioner must establish both that the dispositive procedural

ruling is debatable and that the petition states a debatable claim of the

denial of a constitutional right). Petitioner has failed to make the required

showing.



                                    ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate

[Doc. 1] is DISMISSED as a successive petition.

      IT IS FURTHER ORDERED that Petitioner’s motion to proceed in

forma pauperis [Doc. 2] is DENIED AS MOOT.




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      IT IS FURTHER ORDERED that this Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.               Signed: November 7, 2013




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